      Case 4:20-cv-00453-TKW-MAF Document 8 Filed 11/02/20 Page 1 of 2




                     UNITED STATES DISTRICT COURT
                     NORTHERN DISTRICT OF FLORIDA
                         TALLAHASSEE DIVISION

DEVON A. PEMBERTON,

       Plaintiff,

v.                                                 Case No. 4:20cv453-TKW-MAF

ENHANCED RECOVERY COMPANY,

     Defendant.
______________________________/

                                       ORDER

      This case is before the Court based on the magistrate judge’s Report and

Recommendation (Doc. 6) and Plaintiff’s objection (Doc. 7). Based on the my de

novo review of the issues raised in the objection, see Fed. R. Civ. P. 72(b)(3), I agree

with the magistrate judge’s determination that Plaintiff’s motion for leave to proceed

in forma pauperis (Doc. 5) should be denied.          Plaintiff does not dispute the

magistrate judge’s finding that he has sufficient funds in his inmate trust account to

pay the filing fee and the Court finds that Plaintiff’s speculation that he might need

the money for other purposes does not justify allowing him to proceed with this Fair

Credit Reporting Act case without paying the filing fee. Accordingly, it is

      ORDERED that:
Case 4:20-cv-00453-TKW-MAF Document 8 Filed 11/02/20 Page 2 of 2




1.    The magistrate judge’s Report and Recommendation is adopted and

      incorporated by reference in this Order.

2.    Plaintiff’s motion for leave to proceed in forma pauperis (Doc. 5) is

      DENIED.

3.    Plaintiff shall have 30 days from the date of this Order to pay the

      filing fee or this case will be dismissed.

4.    This case is remanded to the magistrate judge for further proceedings.

DONE and ORDERED this 2nd day of November, 2020.

                           T. Kent Wetherell, II
                          T. KENT WETHERELL, II
                          UNITED STATES DISTRICT JUDGE




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